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8                          UNITED STATES DISTRICT COURT

9                         EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,                No. 2:99-cr-433 WBS
13                  Plaintiff,

14         v.                                 ORDER
15   SON VAN NGUYEN,

16                  Defendant.

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18                                 ----oo0oo----
19               Defendant Son Van Nguyen has filed a Motion for Bail or
20   Conditional Release Pending Resentencing.         (Docket No. 1851.)
21   The court notes that on March 4, 2020, Judge Allison Claire
22   denied a similar motion by this defendant.         (Docket No. 1849.)
23   However, in light of defendant’s new arguments raised in the
24   instant motion, the government is hereby ORDERED to file a
25   response by 12:00 p.m. (noon) on Monday, April 6, 2020.              Any
26   reply by defendant shall be filed by Thursday, April 9, 2020.
27   The court will then take the motion under submission and will
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1    inform the parties if oral argument or further proceedings are

2    necessary.

3                 IT IS SO ORDERED.

4    Dated:   April 1, 2020

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